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V Cl\/ll_. NO. 04»2261 DP

U.NITED STATES POSTAL SERVlCE and
}OI-IN E. POTTER, Postmaster General,
Defendants
SCHEDULING ORDER

Pursuant to written notice, a scheduling conference was to be held on May 5, 2005. ]ohn
R. Herherger, counsel for the plaintiff and Gary A. Vanasel<, counsel for the defendant, agreed
upon the following dates and these dates are established as final dates for:
l. Meeting pursuant to Fed.R.Civ.P. 26(f). The Counsel for plaintiff and the undersigned
Assistant U.S. Attorney have conferred to plan discovery
2. Pre»Discovery Disclosures. The parties will exchange the information required by
Fed.R.Civ.P. 26(a)(l) by May 16, 2005
3. Discovery Flan. The parties will need discovery on all the issues raised in the pleadings

The parties propose the following deadlines

Amending pleadings and ]une 1, 2005
]oining Parties

Reports from experts: ]uly 15, 2005, from plaintiff
August 15, 2005, from defendant.

Completion of discovery: November 1, 2005

Dispositive motions: january 13, 2006

Trial Date set by Court: After March 30, 2006
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This document entered on the docket sheet in compliance /
with sue ss and/or 79(?.) FacP nn ~ - VZ

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Pretrial Order Due: Two weeks before trial
Final List of Witnesses
and Exhibits Exchanged: Two weeks before trial

Estimated length of trial: 3 days.
4. Other Items. Settlement cannot be evaluated prior to the completion of discovery
and may be enhanced by a settlement conference with the Magistrate ]udge.

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of default or the service of the response, answer, or objection which is the subject
of the motion. lf default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for non-jury trial. The pretrial order date, pretrial conference date and
trial will be set by the presiding judge. lt is anticipated the trial will last one day.

The parties are reminded that pursuant to l.ocal Rule ll(a) (1)(A), all motions, except
motions pursuant to Fed.R.Civ.P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. lf a partie believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge.

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This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or

extended

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uNrrED sTATEs MAoIsTRATE Jur)ol~:

DATE; 5:/5 l/6~>"

lT lS SO ORDERED.

APPROVED:

TERRELL L. HARR_[S
United States Attorney

 
   

By:
Gary A. V nasek (BPR 4675)
Assistant nited States Attomey
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Memphis, Tennessee 38103
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l

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02261 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

